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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:01CR186
                                              )
              v.                              )
                                              )
MISAEL REYES,                                 )                    ORDER
                                              )
                     Defendant.               )
                                              )



       This matter is before the court on the defendant, Misael Reyes’s (“Reyes”), motion

for reduction of sentence pursuant to 18 U.S.C. § 3582 (C)(2), Filing No. 93. On June 6,

2003, Reyes was sentenced to one count of conspiracy to distribute and to possess with

the intent to distribute a mixture or substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. § 846. The recent changes to the sentencing

guidelines do not apply to the crime to which this defendant was found guilty, and thus, the

defendant’s motion for sentence reduction is denied.

       IT IS ORDERED, that Misael Reyes’s motion for reduction of sentence pursuant to

18 U.S.C. § 3582 (C)(2) (Filing No. 93) is denied.

       DATED this 19th day of June, 2008.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief United States District Judge
